
608 So.2d 175 (1992)
Julia Gayle GATES, Individually and as the Executrix for the Estate of Durward Royce Gates, Sr. and as the Tutrix for the Minor Child, Rebecca Ellen Gates, and as the Curatrix for the Interdict Florence Irene Gates, D. Royce Gates, Jr. and Milton R. Gates
v.
JAMES RIVER CORPORATION OF NEVADA a/k/a James Rivers Corporation of Virginia, Crown Zellerbach Corporation, Aetna Casualty and Surety Company, Beloit Corporation and William Ellis Smith.
No. 92-C-2501.
Supreme Court of Louisiana.
November 13, 1992.
Denied.
